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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

BRONX INDEPENDENT LIVING SERVICES, a
nonprofit organization; DISABLED IN ACTION OF
METROPOLIAN NEW YORK, a nonprofit
organization; ROBERT HARDY, an individual; and
RODOLFO DIAZ, an individual; on behalf of
themselves and all others similarly situated,

                              Plaintiffs,

                – against –

METROPOLITAN TRANSPORTATION
AUTHORITY, a public benefit corporation;
THOMAS PRENDERGAST, in his official capacity
as chairman and chief executive officer of the                   OPINION & ORDER
Metropolitan Transportation Authority; NEW YORK
CITY TRANSIT AUHORITY, a public benefit                             16 Civ. 5023 (ER)
corporation; and VERONIQUE HAKIM, in her
official capacity as president of the New York City
Transit Authority;

                              Defendants.


UNITED STATES OF AMERICA,

                              Plaintiff-Intervenor,

                – against –

METROPOLITAN TRANSPORTATION
AUTHORITY and NEW YORK CITY TRANSIT
AUTHORITY,

                              Defendants.



RAMOS, D.J.:

       Before the Court are cross motions for partial summary judgment. Plaintiffs—two non-

profit advocacy organizations and two disabled individuals who represent a class of similarly
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situated individuals—move for summary judgment seeking a determination that the replacement

of the stairways at the Middletown Road Subway Station in the Bronx triggered certain

accessibility requirements under 49 C.F.R. § 37.43(a)(1). Defendants, Metropolitan

Transportation Authority (“MTA”), the New York City Transit Authority (“NYCTA”), and their

chief executives move for summary judgment seeking a determination that the applicable

regulation is 49 C.F.R. § 37.43(a)(2), not (a)(1). The distinction matters because under

§ 37.43(a)(1), Defendants must make certain alterations to increase accessibility no matter the

cost, while under § 37.43(a)(2), Defendants must make such alterations only if doing so would

not be disproportionately expensive.

       For the reasons set forth below, Plaintiffs’ motion for summary judgment is GRANTED

and Defendants’ motion for summary judgment is DENIED.

I.     BACKGROUND

        Millions of New Yorkers rely on the subway to get to work, school, and their friends and

family. To access the subway, riders must go through one of New York City’s 472 subway

stations. Middletown Road Station is one such station. Defs.’ Responses ¶ 1. It is located in the

Bronx along the IRT Pelham Line and serves the 6 train. Defs.’ Responses ¶ 1. Middletown

Road Station is an elevated station; to board a train, riders must climb one set of stairs to reach a

mezzanine area and buy a ticket, then climb a second set of stairs to reach the train platforms.

Defs.’ Responses ¶ 2. This path is the only means by which users may board a train at the

Station, as no elevators are available. Defs.’ Responses ¶ 3.

       In 2003, NYCTA began planning renovations for the station in order to bring it to a “state

of good repair,” as required under Department of Transportation (“DOT”) regulations. Pls.’

Responses ¶ 26. These renovations were be part of a larger project to renovate nine elevated



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stations along the IRT Pelham Line, from Whitlock Avenue Station at the southern end to Buhre

Avenue Station at the northern end. Pls.’ Responses ¶ 28. The project design phase for the

Middletown Road Station renovations was completed by an NYCTA design team in 2007. Pls.’

Responses ¶ 29.

           Defendants submitted the design documents and the project master plan to the Federal

Transit Administration (“FTA”) in November 2007 as part of their request for federal grant

assistance with the project. Pls.’ Responses ¶ 29. The FTA reviews grant applications for,

among other things, compliance with the Americans with Disabilities Act (“ADA”). See Federal

Transit Administration, Tips for ADA Compliance (Apr. 22, 2014). 1 The FTA may only award

grant assistance to projects that have been certified as ADA-compliant. See Federal Transit

Administration, FTA Fiscal Year 2018 Certifications and Assurances. 2 The project master plan

and design documents submitted to the FTA included the scope of the intended renovations. The

master plan did not include plans for the installation of elevators at the Middletown Road

Station. Pls.’ Responses ¶ 31. In fact, no station on the Pelham Line slated for renovations

included the installation of any elevators. Pls.’ Responses ¶¶ 31, 32.

           In 2008, Defendants withdrew their request for FTA funding for the northernmost four of

the nine planned Pelham Line stations, including the Middletown Road Station, intending instead

to pursue the renovations as part of their 2010-2014 capital plan. 3 Pls.’ Responses ¶ 33. In

August 2011, Defendants determined that they would limit the scope of the renovations at these



1
    Available at https://www.transit.dot.gov/sites/fta.dot.gov/files/docs/Tips_for_ADA_Compliance_4-22-14.pdf.
2
  Available at https://www.transit.dot.gov/funding/grants/grantee-resources/fta-fiscal-year-2018-certifications-and-
assurances.
3
  The five southernmost stations remained part of Defendants’ grant request. Pls.’ Responses ¶ 34. The FTA fully
funded them. Pls.’ Responses ¶ 34. The five newly renovated stations did not include elevators. Pls.’ Responses
¶ 34.

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northernmost four stations, relabeling each from a “rehabilitation project” to a “renewal project.”

Pls.’ Responses ¶ 35. The revised scope of work for the Middletown Road Station included,

among other changes, the repair and replacement of the mezzanine’s steel framing; the

replacement of floors, walls, railings, and platforms; the installation of new lighting on the

mezzanine and platforms; repainting; and the replacement of the street-to-mezzanine and

mezzanine-to-platform staircases. Pls.’ Responses ¶ 37. The revised scope of work did not

provide for the installation of elevators. Pls.’ Responses ¶ 40.

       In March 2012, Defendants resubmitted to the FTA their request for federal funds for the

Middletown Road Station renovations, now more limited in scope. Pls.’ Responses ¶ 36.

Defendants resubmitted funding requests for the other three northernmost stations as well. Pls.’

Responses ¶ 36. The FTA granted funding for each station except the Middletown Road Station.

Pls.’ Responses ¶ 40.

       Renovation work on Middletown Road Station took place over a seven-month period that

began in October 2013 and ended in May 2014. Defs.’ Responses ¶ 4. The station was closed

during this time. Defs.’ Responses ¶ 5. As part of the renovations, Defendants completely

replaced the staircases, bringing them into a “state of good repair” as defined under DOT

guidelines. Defs.’ Responses ¶¶ 17, 18. Defendants also made various renovations to the

mezzanine and platform floors, reconstructing platform edges, replacing concrete platforms, and

installing new lighting. Pls.’ Responses ¶ 37.

       This action was filed on June 28, 2016. Doc. 1. On March 13, 2018 the United States

filed a complaint-in-intervention. Doc. 66.

II.    LEGAL STANDARD




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       Summary judgment is only appropriate where the “materials in the record, including

depositions, documents, electronically stored information, affidavits or declarations, stipulations

(including those made for purposes of the motion only), admissions, interrogatory answers, [and]

other materials” show “that there is no genuine dispute as to any material fact and the movant is

entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(a)–(c). “An issue of fact is ‘genuine’

if the evidence is such that a reasonable jury could return a verdict for the non-moving party.”

Senno v. Elmsford Union Free Sch. Dist., 812 F. Supp. 2d 454, 467 (S.D.N.Y. 2011) (citing SCR

Joint Venture L.P. v. Warshawsky, 559 F.3d 133, 137 (2d Cir. 2009)). A fact is “material” if it

might affect the outcome of the litigation under the governing law. Anderson v. Liberty Lobby,

477 U.S. 242, 248 (1986). In deciding a motion for summary judgment, the Court must

“‘construe the facts in the light most favorable to the non-moving party and must resolve all

ambiguities and draw all reasonable inferences against the movant.’” Brod v. Omya, Inc., 653

F.3d 156, 164 (2d Cir. 2011) (quoting Williams v. R.H. Donnelley, Corp., 368 F.3d 123, 126 (2d

Cir. 2004)).

III.   DISCUSSION

       The ADA “provide[s] a clear and comprehensive national mandate for the elimination of

discrimination against individuals with disabilities[.]” 42 U.S.C. § 12101(b)(1). It recognizes

that “discrimination against individuals with disabilities persists in . . . transportation” through

the “failure to make modifications to existing facilities[.]” 42 U.S.C. § 12101(a). Title II of the

ADA, which governs public entities, therefore provides that “no qualified individual with a

disability shall, by reason of such disability, . . . be subjected to discrimination by any such

entity.” 42 U.S.C. § 12132. Section 12147 of Title II regulates the accessibility obligations of

public entities making alterations to public transit facilities like subway stations. The densely



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worded section provides that when a public entity makes alterations to an existing public

transportation facility that affect or could affect the “usability” of a station or a part thereof,

        it shall be considered discrimination, for purposes of section 12132 of this title and
        section 794 of title 29, for a public entity to fail to make such alterations (or to ensure that
        the alterations are made) in such a manner that, to the maximum extent feasible, the
        altered portions of the facility are readily accessible to and usable by individuals with
        disabilities, including individuals who use wheelchairs, upon the completion of such
        alterations.

This provision is known as the “Accessible Alterations Rule.”

        Section 12147 also provides that when a public entity makes alterations that “affect[] or

could affect[] [the] usability of or access to an area” containing a “primary function,”

        the entity shall also make the alterations in such a manner that, to the maximum extent
        feasible, the path of travel to the altered area and the bathrooms, telephones, and
        drinking fountains serving the altered area, are readily accessible to and usable by
        individuals with disabilities, including individuals who use wheelchairs . . . where such
        alterations . . . are not disproportionate to the overall alterations in terms of cost and
        scope (as determined under criteria established by the Attorney General).

Thus, Section 12147 recognizes two categories of alterations that can trigger accessibility

obligations: those that affect the usability of the station or part of the station, and those that

affect the usability of a station area containing a primary function.

        The Department of Transportation (“DOT”), and its subsidiary agency the FTA, are the

federal agencies charged with implementing the transit-related provisions of Title II. See 42

U.S.C. § 12149. Part 49 C.F.R. § 37 contains the implementing regulations. Specifically,

section 37.43 contains the implementing regulations of § 12147 of Title II. The two regulations

at issue here mirror the distinction made in § 12147 between the two categories of alterations,

those that affect “usability” and those that affect the usability of an area with a “primary

function,” which in turn trigger differing obligations, as follows:

        § 37.43(a)(1) When a public entity alters an existing facility or a part of an existing
        facility used in providing designated public transportation services in a way that affects


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        or could affect the usability of the facility or part of the facility, the entity shall make the
        alterations (or ensure that the alterations are made) in such a manner, to the maximum
        extent feasible, that the altered portions of the facility are readily accessible to and usable
        by individuals with disabilities, including individuals who use wheelchairs, upon the
        completion of such alterations.

        § 37.43(a)(2) When a public entity undertakes an alteration that affects or could affect the
        usability of or access to an area of a facility containing a primary function, the entity
        shall make the alteration in such a manner that, to the maximum extent feasible, the path
        of travel to the altered area and the bathrooms, telephones, and drinking fountains serving
        the altered area are readily accessible to and usable by individuals with disabilities,
        including individuals who use wheelchairs, upon completion of the alterations. Provided,
        that alterations to the path of travel, drinking fountains, telephones and bathrooms are not
        required to be made readily accessible to and usable by individuals with disabilities,
        including individuals who use wheelchairs, if the cost and scope of doing so would be
        disproportionate.

49 C.F.R. § 37.43 (emphasis added). If a public entity makes the type of alterations covered in

(a)(1), it must make the altered portions accessible to and usable by disabled individuals “to the

maximum extent feasible,” regardless of the cost. See Roberts v. Royal Atl. Corp., 542 F.3d 363,

371 (2d Cir. 2008) (stating that the phrase “the maximum extent feasible” requires that

accessibility alterations be made regardless of cost). If it makes the type of alterations covered in

(a)(2), it must ensure that “the path of travel” to the altered area is accessible to and usable by

disabled individuals “to the maximum extent feasible . . . [p]rovided[] that alterations to the path

of travel . . . are not required to be made readily accessible . . . if the cost and scope of doing so

would be disproportionate.”

        By their language, § 37.43(a)(1) and (a)(2) are not mutually exclusive—an alteration can

both “affect the usability of the facility” and “affect the usability of or access to an area of a

facility containing a primary function.” See Disabled in Action of Pennsylvania v. Se.

Pennsylvania Transp. Auth., 635 F.3d 87, 95 (3d Cir. 2011) (stating that (a)(2) covers

“additional” changes); Department of Transportation, ADA Standards for Transportation

Facilities at § 202.3 (2006) (characterizing (a)(2) obligation as “in addition” to general


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accessibility obligation) 4; 28 C.F.R. Part 36, App’x C, Section 36.402 (stating, in the Title III

context, that “[c]osts are to be considered only when an alteration to an area containing a primary

function triggers an additional requirement to make the path of travel to the altered area

accessible”). Defendants argue that § 37.43(a)(2) should apply instead of § 37.43(a)(1), but no

law suggests that either one or the other provision must apply—if both provisions are triggered,

both should apply.

         The parties agree that the only issue to be determined by the Court on these cross-

motions for summary judgment is whether the scope of work performed at Middletown Road

Station triggers the obligations in § 37.43(a)(1) or (a)(2). 5 If § 37.43(a)(1) applies, Defendants

must make whatever renovations are required no matter the cost. If § 37.43(a)(2) applies instead,

then Defendants only need to make the required renovations if doing so would not be

disproportionately expensive.

         Plaintiffs and the federal government argue that the scope of work performed at the

Middletown Road Station triggered the obligations set forth in § 37.43(a)(1). Defendants argue

that the scope of work performed triggered the obligations set forth in § 37.43(a)(2) and not

(a)(1). The Court finds that § 37.43(a)(1) applies. 6


4
  Available at https://www.access-board.gov/guidelines-and-standards/transportation/facilities/ada-standards-for-
transportation-facilities/single-file-version.
5
  Defendants’ briefing contends that, as a matter of regulatory interpretation, requiring the installation of an elevator
upon the replacement of a stairway cannot be squared with the text of § 37.43(a)(1). The parties have represented to
the Court multiple times that the sole issue to be decided in these cross-motions is whether the alterations at
Middletown Road Station triggered § 37.43(a)(1) or (a)(2). See Doc. 80 at 5, Doc. 85 at 24:24–25:1. Consequently,
the Court will address this issue only.
6
  In 2015, the FTA issued a guidance that specifically addresses what accessibility obligations a public entity
triggers by replacing a staircase. In the guidance, the FTA makes clear that “[w]hen the altered area is the path of
travel,” like “passageways between platforms, staircases, and escalators,” the element of the path of travel
undergoing alteration “will be subject to the general requirement of § 37.43(a)(1) that the altered area be accessible
to and usable by persons with disabilities, including wheelchair users, to the maximum extent feasible.” FTA,
Circular C 4710.1 at § 3.4.3. Plaintiffs and the federal government argue that the Court should defer to the
guidance’s interpretation of § 37.43(a)(1) under Auer v. Robbins, 519 U.S. 452 (1997). But because the Court

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         Accessibility obligations under § 37.43(a)(1) are triggered “[w]hen a public entity alters

an existing facility or a part of an existing facility used in providing designated public

transportation services in a way that affects or could affect the usability of the facility or part of

the facility.” The Court finds that Defendants’ renewal project, which involved the replacement

of the stairways at the Middletown Road Station, clearly met this condition.

         There is no dispute that Middletown Road Station is “an existing facility used in

providing designated public transportation services.” So the sole question is whether Defendants

“alter[ed]” the station “in a way that affects or could affect [its] usability” by, among other

things, replacing the stairways. DOT regulations define an “alteration” as such:

         Alteration means a change to an existing facility, including, but not limited to,
         remodeling, renovation, rehabilitation, reconstruction, historic restoration, changes or
         rearrangement in structural parts or elements, and changes or rearrangement in the plan
         configuration of walls and full-height partitions. Normal maintenance, reroofing,
         painting or wallpapering, asbestos removal, or changes to mechanical or electrical
         systems are not alterations unless they affect the usability of the building or facility.

49 C.F.R. § 37.3. Defendants entirely replaced the stairways at Middletown Road Station with

new stairways as part of a major renewal project that also included replacement of walls, floors,

railings, and platforms. This amounts to a “reconstruction” or “renovation” of the station,

including the stairways, and thus an alteration. Indeed, Defendants do not dispute that their

stairway replacement amounted to an “alteration,” referring to it as such multiple times in their

briefing. See Doc. 100 at 14, 15.

         Defendants’ replacement of the stairways also affected the usability of the facility.

“Usability” is left undefined in §§ 37.43(a)(1) and (a)(2), but the Department of Justice,

discussing the term in the context of Title III of the ADA, has stated that it should “be read



independently arrives at the conclusion that § 37.43(a)(1) applies to the Middletown Road Station renovations, it
does not address whether Auer deference is warranted here.

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broadly to include any change that affects the usability of the facility, not simply changes that

relate directly to access by individuals with disabilities.” Final Rule, Nondiscrimination on the

Basis of Disability by Public Accommodations and in Commercial Facilities, 56 Fed. Reg.

35544, 35581 (July 26, 1991). Agreeing with the DOJ’s interpretation, the Second Circuit found

replacements of kitchen floors and bathroom light fixtures to be “alterations” that changed the

“usability” of condominium units under Title III provisions analogous to 42 U.S.C. § 12147. See

Roberts, 542 F.3d at 369. 7 Defendants’ replacement of the stairways at Middletown Road

Station was clearly an alteration that affected the station’s usability under Roberts. The

alteration thus triggered accessibility obligations under § 37.43(a)(1).

        Defendants argue that § 37.43(a)(2), not (a)(1), applies to the alteration because the

renovations were to areas of the station that contained a “primary function.” But (a)(1) and

(a)(2) are not mutually exclusive. Under § 37.43(a)(2), accessibility obligations are triggered

when “a public entity undertakes an alteration that affects or could affect the usability of or

access to an area of a facility containing a primary function.” An alteration can both affect the

usability of a facility, which triggers (a)(1), and affect the usability of or access to an area of a

facility containing a primary function, which triggers (a)(2). In addition to replacing the

stairways, Defendants made extensive alterations to the mezzanine and platform floors of the

station. Since these floors are where tickets are bought and trains are boarded, they clearly

contain primary functions. Therefore, the Court agrees with Defendants that § 37.43(a)(2) also

arguably applies to the renovations made at Middletown Road Station. Plaintiffs do not dispute

this, and the government recognizes that § 37.43(a)(2) applies to a less broad set of alterations



7
  In Disabled in Action of Pennsylvania v. SEPTA, 635 F.3d 87 (3d Cir. 2011), the Third Circuit addressed the
question in dispute here—whether the replacement of a stairway at a subway station was an alteration affecting the
station’s usability—and answered yes. See id. at 93–94.

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